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CATHY L. BERMUDEZ

                IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF HAWAI’I

CATHY L. BERMUDEZ,                      Case No.

                 Plaintiff,             VERIFIED COMPLAINT;
           v.                           EXHIBIT “A”; DEMAND FOR
                                        JURY TRIAL; SUMMONS
EQUIFAX INFORMATION SERVICES
LLC, EXPERIAN INFORMATION
SOLUTIONS, INC., TRANS UNION
LLC, CKS PRIME INVESTMENTS, LLC
and CONTINENTAL FINANCE
COMPANY, LLC,

                 Defendants.
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                                         COMPLAINT

       Cathy L. Bermudez (“Plaintiff”) brings this action against defendants Equifax

Information Services LLC (“Equifax”), Experian Information Solutions, Inc.

(“Experian”), and Trans Union LLC (“Trans Union”), and CKS Prime Investments,

LLC (“CKS Prime”), Continental Finance Company, LLC (“Continental”)

(collectively, “Defendants”) as follows:

                             PRELIMINARY STATEMENT

       1.      Twenty-three million people are victims of identity theft each year.1

Plaintiff is a victim of Identity theft.

       2.      Plaintiff brings this action against Defendants for damages resulting

from their violations of the Fair Credit Reporting Act, 15 U.S.C. § 1681, et seq.

(“FCRA”), and the Fair Debt Collection Practices Act, 15 U.S.C. §1692 et seq.

("FDCPA").

       3.      “Inaccurate credit reports directly impair the efficiency of the banking

system, and unfair credit reporting methods undermine the public confidence which

is essential to the continued functioning of the banking system.” 15 U.S.C. § 1681

(a)(1). “Consumer reporting agencies have assumed a vital role in assembling and

evaluating consumer credit and other information on consumers.” 15 U.S.C. § 1681



1
 Victims of Identity Theft, 2018, 1. U.S. Dept. of Justice, Bureau of Justice Statistics. April 2021,
NCJ 256085.


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(a)(3). “There is a need to ensure that consumer reporting agencies exercise their

grave responsibilities with fairness, impartiality, and a respect for the consumer’s

right of privacy.” 15 U.S.C. § 1681 (a)(4).

      4.     Consumer reporting agencies are to “[]adopt reasonable procedures for

meeting the needs of commerce for consumer credit, personnel, insurance, and other

information in a manner which is fair and equitable to the consumer, with regard to

the confidentiality, accuracy, relevancy, and proper utilization of such information

…” 15 U.S.C. § 1681 (b).

      5.     The FDCPA was enacted “to eliminate abusive debt collection

practices by debt collectors.” 15 U.S.C. § 1692(e). The statute provides for civil

liability for a wide range of abusive actions, including, but not limited to, the false

representation of the character, amount, or legal status of any debt. 15 U.S.C. §

1692e(2)(A).

      6.     Defendants have failed their grave responsibilities of fairness,

impartiality, and a respect for Plaintiff's right of privacy, which failures are causing

damage to Plaintiff.

      7.     Plaintiff also seeks to enforce those policies and civil rights which are

expressed through the FDCPA. The FDCPA encourages consumers to act as “private

attorneys general” to enforce the public policies and protect the civil rights expressed

therein. Crabill v. Trans Union, LLC, 259 F.3d 662, 666 (7th Cir. 2001). Over one-



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third of debt collection complaints to the CFPB are about attempts to collect a debt

that is not owed as is the case here. Fair Debt Collection Practices Act—CFPB

Annual Report 2015 at 13 (2015).2

       8.      Defendants’ failure to conduct a reasonable investigation into the

fraudulent accounts, and continued reporting of the known error, has caused

significant damage to Plaintiff.

                                      JURISDICTION

       9.      Jurisdiction is proper under 28 U.S.C. § 1346(b)(1), 28 U.S.C. § 1331,

and 15 U.S.C. § 1681p (FCRA) as this action arises under the laws of the United

States.

       10.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) as

Plaintiff resides in this district and a substantial part of the acts and omissions giving

rise to the claims occurred within Hawai’i and the Hawai’i judicial district.

                                          PARTIES

       11.     Plaintiff, Cathy L. Bermudez, is a natural person who resides in

Kahului, Hawai’i.

       12.     Plaintiff is a consumer as defined in the FDCPA. See 15 U.S.C. §

1692a(3).



2
 http://files.consumerfinance.gov/f/201503_cfpb-fair-debt-collection-practices-act.pdf (last
visited November 2, 2022).


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      13.    Plaintiff is a consumer as defined by the FCRA, 15 U.S.C. §1681a(c):

“an individual.”

      14.    Equifax is a corporation with its principal place of business located at

1550 Peachtree Street, N.W., Atlanta, Georgia 30309. Equifax’s registered agent is

1003 Bishop Street, Suite 1600 Pauahi Tower, Honolulu, Hawai’i 96813.

      15.    Equifax is a credit reporting agency that compiles and maintains files

on consumers on a nationwide basis for the purpose of furnishing consumer reports

to third parties bearing on a consumer’s credit worthiness, credit standing, or credit

capacity.

      16.    Defendant Experian is an Ohio corporation with its principal place of

business located at 475 Anton Blvd., Costa Mesa, CA 92626. Its registered agent, C

T Corporation System, is located at 900 Fort Street Mall, Suite 1680, Honolulu,

Hawai’i 96813.

      17.    Experian is a credit reporting agency that compiles and maintains files

on consumers on a nationwide basis for the purpose of furnishing consumer reports

to third parties bearing on a consumer’s credit worthiness, credit standing, or credit

capacity.

      18.    Trans Union is an Illinois limited liability corporation with its principal

place of business located at 555 West Adams Street, Chicago, IL 60661. Its




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registered agent, Corporation Service Company is located at 1003 Bishop Street,

Suite 1600 Pauahi Tower, Honolulu, Hawai’i 96813.

      19.    Trans Union is a credit reporting agency that compiles and maintains

files on consumers on a nationwide basis for the purpose of furnishing consumer

reports to third parties bearing on a consumer’s credit worthiness, credit standing, or

credit capacity.

      20.    In the U.S. market, defendant CKS Prime is a purchase debt buyer

whose business model is to collect as many debts as they can with the smallest

possible expense. CKS Prime is located at 3838 N Causeway Blvd, Suite 2800,

Metairie, Louisiana 70002. Its registered agent, C T Corporation System is located

at 900 Fort Street Mall, Suite 1680, Honolulu, Hawai’i 96813.

      21.    CKS Prime is a “furnisher of information” as that term is defined by the

FCRA, 15 U.S.C. § 1681s-2(b) and a “debt collector” as that term is defined in the

FDCPA. 15 U.S.C. § 1692, et seq.

      22.    Continental is a company that services credit cards for consumer with

less than excellent credit. Its portfolio includes credit cards issued by Celtic Bank.

Continental is headquartered in Delaware with its registered agent listed as Lamiaa

Elfar at 4550 New Linden Hill Road, Suite 400, Wilmington, Delaware 19808. The

Hawai’i Secretary of State Database lists no registered agent for Continental.




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      23.      Continental is a “furnisher of information” as that term is defined by

the FCRA, 15 U.S.C. § 1681s-2(b).

      24.      Defendants regularly conduct business in Hawai’i.

                                        FACTS

      25.      In September 2022, Plaintiff learned that someone used her identity to

fraudulently obtain a credit card issued by Celtic Bank and serviced by Continental

Finance Company and then incur charges that Plaintiff never authorized. Thieves

charged, in total, $910 to the fraudulent credit card. That fraudulent credit card

account was never paid so Continental Finance Company then sent the account to a

third-party debt collector—CKS Prime.

      26.      Plaintiff’s three major credit reports erroneously reported a

Continental Finance/Celtic Bank account was opened on October 19, 2021, and

had a high balance owed of $910.00. Plaintiff’s credit reports also report that the

fraudulent Continental Finance account was sold to CKS Prime with a current

balance owed of $911.00.

      27.      Plaintiff did not authorize anyone to open the Continental Finance

credit card.

      28.      Moreover, Plaintiff’s Experian credit file, shows a residential address

of 1401 S Broadway St., Fort Scott, KS 667011912. Plaintiff is unsure whether that




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address has anything to do with the identity theft, but Plaintiff has never resided in

Kansas.

      29.    On November 2, 2022, Plaintiff filed a Federal Trade Commission

Identity Theft Affidavit report.

      30.    The fraudulent Continental Finance credit card and the CKS Prime

collection are reporting to Plaintiff’s Equifax, Experian, and Trans Union credit

reports.

      31.    Plaintiff then caused detailed dispute letters that contained the FTC

Identity Theft Affidavit to be delivered via certified mail to Equifax, Experian, and

Trans Union.

      32.    On February 11, 2023, Experian received Plaintiff’s dispute letter—

tracking number 9407-1118-9956-2114-1976-52.

      33.    On February 13, 2023, Equifax received Plaintiff’s dispute letter--

tracking number 9407-1118-9956-2114-1852-08.

      34.    On February 13, 2023, TransUnion received Plaintiff’s dispute letter--

tracking number 9407-1118-9956-2114-1236-06.

      35.    Upon information and belief, and pursuant to the FCRA, Equifax,

Experian, and Trans Union forwarded Plaintiff’s dispute letters to Continental

Finance and to CKS Prime within five business days of receiving Plaintiff’s




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dispute letters so that Continental Finance and CKS Prime could investigate the

merits of Plaintiff’s disputes.

     36.    Plaintiff also contacted CKS Prime, and spoke to a CKS Prime

representative, to let them know the account was fraudulently opened.

     37.    Despite Plaintiff’s lawful requests for removal of the fraudulent

accounts pursuant to the FCRA, Experian, Equifax, Trans Union, Continental

Finance, and CKS Prime failed to: 1) adequately investigate Plaintiff’s disputes;

2) failed to provide any details on the investigation, and; 3) failed to remove the

disputed, derogatory, fraudulent, and erroneous items from Plaintiff’s Equifax,

Experian, and Trans Union credit file.

     38.     Plaintiff never heard back from Equifax, Experian, or Trans Union

about the results of their investigations.

     39.    On October 24, 2023, Plaintiff pulled her credit reports again and saw

that Equifax, Experian, and Trans Union continue to report the fraudulent

accounts on Plaintiff’s credit report.

     40.    Despite Plaintiff sending detailed dispute letters to each credit

reporting agency, both fraudulent CKS Prime and Continental Finance accounts

remain listed as “not disputed” on TransUnion and Experian. Equifax has listed

the CKS Prime account as “disputed” but continues to list the Continental Finance

account as “not disputed’.



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       41.    Upon information and belief, Defendants failed to evaluate or

 consider any of Plaintiff’s information, claims, or evidence, and did not make

 sufficient—if any—attempts to remove the disputed items within a reasonable

 time following Defendant’s receipt of Plaintiff’s dispute.

       42.    Despite Plaintiff’s lawful requests for removal of the disputed items

 pursuant to the FCRA, the Defendants failed to investigate Plaintiff’s disputes and

 failed to remove the disputed, derogatory, and erroneous items from Plaintiff’s

 credit reports to date.

       43.    Defendants failed to update Plaintiff’s credit reports to remove the

 fraudulent accounts.

       44.    Defendants’ actions have damaged Plaintiff financially and harmed

 Plaintiff’s reputation. In addition, Defendants’ actions have caused Plaintiff to

 suffer anguish, embarrassment, emotional distress, humiliation, and frustration.

       45.    Plaintiff paid a service to help her try to remove the fraudulent

 accounts from her credit file.

       46.    Plaintiff is worried to apply for any credit due to the derogatory and

 fraudulent accounts being reported to all three credit bureaus to date.

       47.    Plaintiff has suffered damages proximately caused by the conduct of

 Defendants, including:

             i.     Paid for a service to help her remove the fraudulent accounts
                    from her credit file;


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             ii.      Emotional distress, damage to reputation, humiliation, guilt,
                      stress, anxiety, frustration, mental pain, anguish, distress, and
                      loss of focus and production;

            iii.      Time and expense of pulling/reviewing credit reports and
                      meeting with professionals about how to best proceed;
            iv.       Believing that the erroneous accounts may continue to be
                      reported inaccurately and misleadingly through no fault of
                      Plaintiff’s and have a chilling effect on ability to obtain credit;

             v.       Adverse information on credit reports and a negative impact to
                      credit rating;

            vi.       An inability to improve credit scores during the dispute process;
            vii.      An inability to qualify for financing;
         viii.        Invasion of privacy; and

            ix.       A lower credit score.
                                       COUNT I

                      Equifax’s Failure to Reasonably Investigate
                             FCRA §§ 1681e(b) and 1681i

      48.      Plaintiff incorporates the preceding paragraphs as though fully set

 forth herein.

      49.      Equifax is a consumer reporting agency as defined by Section

 1681a(f) of the FCRA:

                   any person which, for monetary fees, dues, or on a
                   cooperative nonprofit basis, regularly engages in
                   whole or in part in the practice of assembling or
                   evaluating consumer credit information or other
                   information on consumers for the purpose of
                   furnishing consumer reports to third parties, and
                   which uses any means or facility of interstate


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                commerce for the purpose of preparing or
                furnishing consumer reports.

 See 15 U.S.C. § 1681a(f).

      50.     Pursuant to 15 U.S.C. § 1681i(a)(1)(A) if a consumer disputes any

 item of information contained in his or her credit report, a consumer reporting

 agency must “conduct a reasonable reinvestigation to determine whether the

 disputed information is inaccurate and record the current status of the disputed

 information, or delete the item from the file…before the end of the 30-day period

 beginning on the date on which the agency receives notice of the dispute from the

 consumer.”

      51.     Pursuant to 15 U.S.C. § 1681i(a)(4) Equifax must “review and

 consider all relevant information submitted by the consumer” when Equifax

 conducts any reinvestigation.

      52.     Plaintiff sent a dispute letter, along with supporting documentation, to

 Equifax requesting that Equifax remove the derogatory and fraudulent Continental

 Finance/Celtic Bank account balance and monthly payment obligation and remove

 the derogatory and fraudulent CKS Prime Investments account balance and

 monthly payment obligation from Plaintiff’s Equifax credit report.

      53.     Equifax failed to conduct a reasonable investigation of the inaccurate

 and unverifiable information in its Plaintiff’s credit file about the above-

 mentioned derogatory accounts after receiving actual notice of the inaccuracies


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 with supporting documentation showing that Continental Finance/Celtic Bank and

 CKS Prime Investments were reporting inaccurately.

      54.    Equifax violated 15 U.S.C. § 1681e(b) by its conduct, acts, and

 omissions in failing to establish or to follow reasonable procedures to assure

 maximum possible accuracy of information concerning Plaintiff in the preparation

 and publication of Plaintiff's consumer reports.

      55.    Equifax violated multiple sections of 15 U.S.C. § 1681i by its acts and

 omissions, including, but not limited to, the following:

                    a. failing to (i) conduct a reasonable reinvestigation of

                       Plaintiff’s disputes concerning all items of information

                       Plaintiff disputed, and (ii) record the correct statuses of the

                       disputed information or delete the disputed information

                       from Plaintiff’s credit file, in violation of § 1681i(a)(1);

                    b. failing to delete the erroneous items from Plaintiff's credit

                       file within the 30-day period of receiving Plaintiff's

                       disputes, in violation of § 1681i(a)(1);

                    c. failing to provide Plaintiff's disputes to the companies that

                       provided the information to Equifax within 5 business

                       days, in violation of § 1681i(a)(2);




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                     d. failing to review and consider all relevant information

                         submitted by Plaintiff concerning Plaintiff’s disputes, in

                         violation of § 1681i(a)(4); and

                     e. failing to properly delete items of disputed information

                         from Plaintiff's credit file that Equifax could not have

                         verified upon a lawful reinvestigation in violation of §

                         1681i(a)(5).

       56.    These violations of §§ 1681e(b) and 1681i were willful, rendering

  Equifax liable for statutory damages, actual damages, costs and reasonable

  attorney's fees, and punitive damages in an amount to be determined by the Court

  pursuant to § 1681n.

       57.    In the alternative, Equifax’s violations of §§ 1681e(b) and 1681i were

  negligent, entitling Plaintiff to recover actual damages, costs, and reasonable

  attorney’s fees pursuant to § 1681o.

       58.    Plaintiff has suffered anguish, embarrassment, humiliation,

  frustration, reputational damage, and emotional distress because of Equifax's

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       59.    failure to fully and properly investigate Plaintiff’s disputes.

                                      COUNT II

                   Experian’s Failure to Reasonably Investigate
                          FCRA §§ 1681e(b) and 1681i

       60.    Plaintiff incorporates the paragraphs preceding Count I as though

 fully set forth herein.

       61.    Experian is a consumer reporting agency as defined by Section

 1681a(f) of the FCRA:

                 any person which, for monetary fees, dues, or on a
                 cooperative nonprofit basis, regularly engages in
                 whole or in part in the practice of assembling or
                 evaluating consumer credit information or other
                 information on consumers for the purpose of
                 furnishing consumer reports to third parties, and
                 which uses any means or facility of interstate
                 commerce for the purpose of preparing or
                 furnishing consumer reports.

 See 15 U.S.C. § 1681a(f).

       62.    Pursuant to 15 U.S.C. § 1681i(a)(1)(A) if a consumer disputes any

 item of information contained in his or her credit report, a consumer reporting

 agency must “conduct a reasonable reinvestigation to determine whether the

 disputed information is inaccurate and record the current status of the disputed

 information, or delete the item from the file…before the end of the 30-day period




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 beginning on the date on which the agency receives notice of the dispute from the

 consumer.”

      63.     Pursuant to 15 U.S.C. § 1681i(a)(4) Experian must “review and

 consider all relevant information submitted by the consumer” when Experian

 conducts any reinvestigation.

      64.     Plaintiff sent a dispute letter, along with supporting documentation, to

 Experian requesting that Experian remove the derogatory and fraudulent

 Continental Finance/Celtic Bank account balance and monthly payment obligation

 and remove the derogatory and fraudulent CKS Prime Investments account

 balance and monthly payment obligation from Plaintiff’s Experian credit report.

      65.     Experian failed to conduct a reasonable investigation of the inaccurate

 and unverifiable information in its Plaintiff’s credit file about the above-

 mentioned derogatory accounts after receiving actual notice of the inaccuracies

 with supporting documentation showing that Continental Finance/Celtic Bank and

 CKS Prime Investments were reporting inaccurately.

      66.     Experian violated 15 U.S.C. § 1681e(b) by its conduct, acts, and

 omissions in failing to establish or to follow reasonable procedures to assure

 maximum possible accuracy of information concerning Plaintiff in the preparation

 and publication of Plaintiff's consumer reports..




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      67.    Experian violated multiple sections of 15 U.S.C. § 1681i by its acts

 and omissions, including, but not limited to, the following:

                    a. failing to (i) conduct a reasonable reinvestigation of

                       Plaintiff’s disputes concerning all items of information

                       Plaintiff disputed, and (ii) record the correct statuses of the

                       disputed information or delete the disputed information

                       from Plaintiff’s credit file, in violation of § 1681i(a)(1);

                    b. failing to delete the erroneous items from Plaintiff's credit

                       file within the 30-day period of receiving Plaintiff's

                       disputes, in violation of § 1681i(a)(1);

                    c. failing to provide Plaintiff's disputes to the companies that

                       provided the information to Experian within 5 business

                       days, in violation of § 1681i(a)(2);

                    d. failing to review and consider all relevant information

                       submitted by Plaintiff concerning Plaintiff’s disputes, in

                       violation of § 1681i(a)(4); and

                    e. failing to properly delete items of disputed information

                       from Plaintiff's credit file that Experian could not have

                       verified upon a lawful reinvestigation in violation of §

                       1681i(a)(5).



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       68.    These violations of §§ 1681e(b) and 1681i were willful, rendering

 Experian liable for statutory damages, actual damages, costs and reasonable

 attorney's fees, and punitive damages in an amount to be determined by the Court

 pursuant to § 1681n.

       69.    In the alternative, Experian’s violations of §§ 1681e(b) and 1681i

 were negligent, entitling Plaintiff to recover actual damages, costs, and reasonable

 attorney’s fees pursuant to § 1681o.

    Plaintiff has suffered anguish, embarrassment, humiliation, frustration,

 reputational damage, and emotional distress because of Experian's failure to fully

 and properly investigate Plaintiff’s disputes.

                                     COUNT III

                 Trans Union’s Failure to Reasonably Investigate
                         FCRA §§ 1681e(b) and 1681i

       70.    Plaintiff incorporates the paragraphs preceding Count I as though

 fully set forth herein.

       71.    Trans Union is a consumer reporting agency as defined by Section

 1681a(f) of the FCRA:

                any person which, for monetary fees, dues, or on a
                cooperative nonprofit basis, regularly engages in
                whole or in part in the practice of assembling or
                evaluating consumer credit information or other
                information on consumers for the purpose of
                furnishing consumer reports to third parties, and
                which uses any means or facility of interstate


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                commerce for the purpose of preparing or
                furnishing consumer reports.

 See 15 U.S.C. § 1681a(f).

      72.     Pursuant to 15 U.S.C. § 1681i(a)(1)(A) if a consumer disputes any

 item of information contained in his or her credit report, a consumer reporting

 agency must “conduct a reasonable reinvestigation to determine whether the

 disputed information is inaccurate and record the current status of the disputed

 information, or delete the item from the file…before the end of the 30-day period

 beginning on the date on which the agency receives notice of the dispute from the

 consumer.”

      73.     Pursuant to 15 U.S.C. § 1681i(a)(4) Trans Union must “review and

 consider all relevant information submitted by the consumer” when Trans Union

 conducts any reinvestigation.

      74.     Plaintiff sent a dispute letter, along with supporting documentation, to

 Trans Union requesting that Trans Union remove the derogatory and fraudulent

 Continental Finance/Celtic Bank account balance and monthly payment obligation

 and remove the derogatory and fraudulent CKS Prime Investments account

 balance and monthly payment obligation from Plaintiff’s Equifax credit report.

      75.     Trans Union failed to conduct a reasonable investigation of the

 inaccurate and unverifiable information in its Plaintiff’s credit file about the

 above-mentioned derogatory accounts after receiving actual notice of the


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 inaccuracies with supporting documentation showing that Continental

 Finance/Celtic Bank and CKS Prime Investments were reporting inaccurately.

      76.    Trans Union violated 15 U.S.C. § 1681e(b) by its conduct, acts, and

 omissions in failing to establish or to follow reasonable procedures to assure

 maximum possible accuracy of information concerning Plaintiff in the preparation

 and publication of Plaintiff's consumer reports.

      77.    Trans Union violated multiple sections of 15 U.S.C. § 1681i by its

 acts and omissions, including, but not limited to, the following:

                    a. failing to (i) conduct a reasonable reinvestigation of

                       Plaintiff’s disputes concerning all items of information

                       Plaintiff disputed, and (ii) record the correct statuses of the

                       disputed information or delete the disputed information

                       from Plaintiff’s credit file, in violation of § 1681i(a)(1);

                    b. failing to delete the erroneous items from Plaintiff's credit

                       file within the 30-day period of receiving Plaintiff's

                       disputes, in violation of § 1681i(a)(1);

                    c. failing to provide Plaintiff's disputes to the companies that

                       provided the information to Trans Union within 5 business

                       days, in violation of § 1681i(a)(2);

                    d. failing to review and consider all relevant information



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                        submitted by Plaintiff concerning Plaintiff’s disputes, in

                        violation of § 1681i(a)(4); and

                    e. failing to properly delete items of disputed information

                        from Plaintiff's credit file that Trans Union could not have

                        verified upon a lawful reinvestigation in violation of §

                        1681i(a)(5).

      78.    These violations of §§ 1681e(b) and 1681i were willful, rendering

 Trans Union liable for statutory damages, actual damages, costs and reasonable

 attorney's fees, and punitive damages in an amount to be determined by the Court

 pursuant to § 1681n.

      79.    In the alternative, Trans Union’s violations of §§ 1681e(b) and 1681i

 were negligent, entitling Plaintiff to recover actual damages, costs, and reasonable

 attorney’s fees pursuant to § 1681o.

      80.    Plaintiff has suffered anguish, embarrassment, humiliation,

 frustration, reputational damage, and emotional distress because of Trans Union's

 failure to fully and properly investigate Plaintiff’s disputes.




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                                     COUNT IV

                       CKS Prime’s Violations of the FDCPA

       81.    Plaintiff incorporates the paragraphs preceding Count I as though

 fully set forth herein.

       82.    The foregoing acts and omissions of CKS Prime constitute violations

 of the FDCPA including but not limited to violations of 15 U.S.C. §1692e and

 §1692f by attempting to collect a debt from Plaintiff that Plaintiff does not owe.

       83.    As a result of CKS Prime’s violations of the FDCPA, Plaintiff is

 entitled from Defendant: actual damages pursuant to 15 U.S.C. § 1692k(a)(1);

 statutory damages in an amount up to $1,000.00 pursuant to 15 U.S.C. §

 1692k(a)(2)(A); and reasonable attorney’s fees and costs pursuant to 15 U.S.C. §

 1692k(a)(3).

                                     COUNT V

                       FCRA – CKS Prime’s Failure to Investigate

       84.    Plaintiff incorporates the paragraphs prior to Count I as though fully

 set forth herein.

       85.    Pursuant to 15 U.S.C. § 1681s-2(b)(1)(A), after a furnisher of

 information receives notice of a “dispute with regard to the completeness or

 accuracy of any information provided by a person to a consumer reporting agency,




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 [that furnisher of information] shall conduct an investigation with respect to the

 disputed information.”

       86.    Pursuant to 15 U.S.C. § 1681s-2(b)(1)(A), after a furnisher of

 information receives notice of a “dispute with regard to the completeness or

 accuracy of any information provided by a person to a consumer reporting agency,

 [that furnisher of information] shall review all relevant information provided by

 the consumer reporting agency…”

       87.    CKS failed to fully and properly investigate Plaintiff’s disputes.

       88.    CKS failed to review all relevant information provided by the Credit

 Bureau Defendants relating to Plaintiff’s disputes.

       89.    CKS's conduct, action, and inaction was willful, or, in the alternative,

 negligent.

       90.    Plaintiff suffered embarrassment, humiliation, and emotional distress

 because of CKS's failure to fully and properly investigate Plaintiff’s disputes.

                                     COUNT VI

                     FCRA – Continental Finance’s Failure to Investigate

       91.    Plaintiff incorporates the paragraphs prior to Count I as though fully

 set forth herein.

       92.    Pursuant to 15 U.S.C. § 1681s-2(b)(1)(A), after a furnisher of

 information receives notice of a “dispute with regard to the completeness or



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 accuracy of any information provided by a person to a consumer reporting agency,

 [that furnisher of information] shall conduct an investigation with respect to the

 disputed information.”

      93.    Pursuant to 15 U.S.C. § 1681s-2(b)(1)(A), after a furnisher of

 information receives notice of a “dispute with regard to the completeness or

 accuracy of any information provided by a person to a consumer reporting agency,

 [that furnisher of information] shall review all relevant information provided by

 the consumer reporting agency…”

      94.    Continental failed to fully and properly investigate Plaintiff’s

 disputes.

      95.    Continental failed to review all relevant information provided by the

 Credit Bureau Defendants relating to Plaintiff’s disputes.

      96.    Continental's conduct, action, and inaction was willful, or, in the

 alternative, negligent.

      97.    Plaintiff suffered embarrassment, humiliation, and emotional distress

 because of Truist's failure to fully and properly investigate Plaintiff’s disputes.

 WHEREFORE, Plaintiff requests that this Honorable Court:

             a.     Enter judgment in Plaintiff's favor and against Defendants;

             b.     Appropriate statutory penalties for each violation of the FCRA

    and FDCPA;



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              c.     Actual damages;

              d.     Punitive damages;

              e.     Reasonable attorney’s fees and the costs of this litigation;

              f.     Pre-judgment and post-judgment interest at the legal rate;

              g.     Appropriate equitable relief, including the correction of

    Plaintiff's credit reports; and

              h.     Such other relief as the Court deems equitable, just, and proper.

       DATED: Honolulu, Hawai’i, January 26, 2024.

                                         /s/ Robert M. Hatch
                                         MARGERY S. BRONSTER
                                         ROBERT M. HATCH
                                         JAMES M. SMITH (pro hac vice to be
                                         submitted)

                                         Attorneys for Plaintiff
                                         CATHY L. BERMUDEZ




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